J-S70026-16


NON-PRECEDENTIAL DECISION - SEE SUPERIOR COURT I.O.P. 65.37

COMMONWEALTH OF PENNSYLVANIA                   IN THE SUPERIOR COURT OF
                                                     PENNSYLVANIA


                   v.

SHAWN MOSES

                        Appellant                   No. 185 EDA 2016


          Appeal from the Judgment of Sentence December 4, 2015
            In the Court of Common Pleas of Philadelphia County
            Criminal Division at No(s): CP-51-CR-0003521-2012


BEFORE: OLSON, J., OTT, J., and MUSMANNO, J.

MEMORANDUM BY OTT, J.:                        FILED NOVEMBER 17, 2016

     Shawn Moses brings this appeal from the judgment of sentence

imposed on December 4, 2015, in the Court of Common Pleas of Philadelphia

County.   Moses was found guilty by a jury of firearms not to be carried

without a license, 18 Pa.C.S. § 6106(a)(1), a felony of the third degree, and

carrying firearms on public streets or public property in Philadelphia, 18

Pa.C.S. § 6108, a misdemeanor of the first degree.           The trial court

sentenced Moses to three to six years’ incarceration on the charge of

firearms not to be carried without a license, and four years of reporting

probation on the charge of carrying firearms on public streets or public

property in Philadelphia. The sole claim raised by Moses is a challenge to

the sufficiency of the evidence sustaining his firearms convictions.   Based

upon the following, we affirm.
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     The facts underling this appeal were summarized by the trial court:

     On March 2, 2012, around 10:30 P.M., [Moses] was arrested on
     [the] 100 block of Edgewood Street in the City and County of
     Philadelphia. Under his clothing [Moses] had a 9 millimeter
     Glock handgun which contained ten (10) 9 millimeter Luger
     rounds of ammunition at the time of his arrest. A stipulation by
     and between counsel allowed Exhibit C-11, the Firearms
     Identification Unit (FIU) report, to be moved into evidence. The
     FIU report stated that the handgun had a four (4) inch barrel
     and was operable.       A certificate of non-licensure from the
     Pennsylvania State Police was also stipulated to and admitted
     into evidence as Exhibit C-12. At trial, [Moses] testified that he
     purchased the firearm in Georgia and went through a
     background check and registry. [Moses] confirmed he did not
     have a license to carry a firearm in Pennsylvania nor Georgia.

Trial Court Opinion, 4/22/2016, at 2.

     Our review of a challenge to the sufficiency of the evidence is well

established:

     The standard we apply in reviewing the sufficiency of the
     evidence is whether viewing all the evidence admitted at trial in
     the light most favorable to the verdict winner, there is sufficient
     evidence to enable the fact-finder to find every element of the
     crime beyond a reasonable doubt. In applying [this] test, we
     may not weigh the evidence and substitute our judgment for the
     fact-finder. In addition, we note that the facts and circumstances
     established by the Commonwealth need not preclude every
     possibility of innocence. Any doubts regarding a defendant's guilt
     may be resolved by the fact-finder unless the evidence is so
     weak and inconclusive that as a matter of law no probability of
     fact may be drawn from the combined circumstances. The
     Commonwealth may sustain its burden of proving every element
     of the crime beyond a reasonable doubt by means of wholly
     circumstantial evidence. Moreover, in applying the above test,
     the entire record must be evaluated and all evidence actually
     received must be considered. Finally, the trier of fact while
     passing upon the credibility of witnesses and the weight of the
     evidence produced, is free to believe all, part or none of the
     evidence.

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Commonwealth v. Lopez, 57 A.3d 74, 79 (Pa. Super. 2012).

      Moses’s sufficiency challenge rests on his claim he believed the gun he

purchased in Georgia did not require a permit and therefore he believed he

was excused from obtaining a license in Pennsylvania.        Specifically, he

asserts:

      [Moses] testified that he purchased the gun in Georgia. He
      maintained that the gun was legally purchased in Georgia. He
      maintained that according to Georgia law, he was entitled to
      possess the gun without a license. [Moses] testified that he had
      brought the gun to a photography and recording studio where he
      worked. The gun was used as a prop for a photograph. At the
      time of his arrest, he was returning to his home. He kept the
      gun at home for protection, but he was going to store it in a
      safe.

      [Moses] testified that he believed that as a matter of fact the
      gun was legal.

Moses’s Brief at 15.

      To address Moses’s argument, we turn to the Pennsylvania Crimes

Code provisions at issue, 18 Pa.C.S. §§ 6106 and 6108.

      Section 6106 of the Crimes Code provides: “A person who carries a

firearm in any vehicle or a person who carries a firearm concealed on or

about his person, except in his place of abode or fixed place of business,

without a valid and lawfully issued license under this chapter commits a

felony of the third degree.”    18 Pa.C.S. § 6106(a)(1).      Therefore, the

Commonwealth must prove (a) that the weapon was a firearm; (b) that the

firearm was unlicensed; and (c) that where the firearm was concealed on or



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about the person, it must be outside his home or place of business.

Commonwealth v. Lopez, 565 A.2d 437, 439 (Pa. 1989). Section 6106(b)

enumerates sixteen exceptions to Section 6106(a).

      Moses was also convicted under Section 6108 of the Crime Codes,

which provides:

      No person shall carry a firearm, rifle or shotgun at any time
      upon the public streets or upon any public property in a city of
      the first class unless:

         (1) such person is licensed to carry a firearm; or

         (2) such person is exempt from licensing under section
         6106(b) of this title (relating to firearms not to be carried
         without a license).

18 Pa.C.S. § 6108.

      Because neither Section 6106 nor 6108 provide the requisite intent,

the specific mens rea is that which is provided in 18 Pa.C.S. § 302. Section

302 states that “[w]hen the culpability sufficient to establish a material

element of an offense is not prescribed by law, such element is established if

a person act intentionally, knowingly, or recklessly.” 18 Pa.C.S. § 302(c).

Pursuant to Section 302(b)(3):

      A person acts recklessly with respect to a material element of an
      offense when he consciously disregards a substantial and
      unjustifiable risk that the material element exists or will result
      from his conduct. The risk must be of such a nature and degree
      that, considering the nature and intent of the actor’s conduct
      and the circumstances known to him, its disregard involves a
      gross deviation from the standard of conduct that a reasonable
      person would observe in the actor’s situation.

18   Pa.C.S.   §   302(b)(3).    Recklessness    may   be   demonstrated   by

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circumstantial evidence.       Commonwealth v. Hogan, 468 A.2d 493, 496

(Pa. Super. 1983).

        Moses asserts that his testimony demonstrates a “mistake of fact” that

disproves the required element of criminal intent, and therefore the

Commonwealth has failed to prove all the elements of the crimes charged

against him.       However, because this sufficiency challenge is based on

Moses’s own self-serving assertions, which the jury was free to disregard, it

is unavailing. See Commonwealth v. Sinnott, 30 A.3d 1105, 1110–1111

(Pa. 2011).

        Furthermore, Moses’s belief “that the gun was legal” 1 is a mistake of

law, which is not a defense. See 18 Pa.C.S. § 304, Official Comment

(“Generally speaking, ignorance or mistake of law is no defense.”);

Commonwealth v. Henderson, 938 A.2d 1063, 1067 (Pa. Super. 2007)

(“[I]it is axiomatic that ignorance of the law is not a defense.”).

        Here, Moses does not claim, for instance, that he believed a document

he possessed was a valid license, when it was not — which would be a

“mistake of fact.” Rather, Moses’s claim is he believed he did not need to

have a Pennsylvania gun license, because he believed he did not need one in




____________________________________________


1
    Moses’s Brief at 15.




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Georgia.2 Even if reasonable, Moses’s subjective belief that he was excused

from obtaining a Pennsylvania license is a “mistake of law” that does not

provide a defense to the charged firearms offenses.

       While Moses relies on Pennsylvania’s reciprocity agreement with

Georgia, his reliance is misplaced.            Section 6109(k) provides that “[t]he

Attorney General may enter into reciprocity agreements with other states

providing for mutual recognition of each state’s license to carry a

firearm.” 18 Pa.C.S. § 6109(k) (emphasis added). Further, Pennsylvania’s

reciprocity agreement provides that Pennsylvania will recognize “valid

permits to carry concealed firearms held by Georgia permit holders while

said permit holders are present in Pennsylvania,” and that “[r]eciprocity

applies only to the carrying of firearms by valid license holders and not to

other types of weapons.” Attorney General’s Letter Re: Handgun Permit

Reciprocity between Pennsylvania and Georgia, 10/28/2002 (emphasis




____________________________________________


2
  Moses cites Georgia statutes, O.C.G.A. 16-11-126 and 16-11-129, in
arguing he believed a permit was unnecessary under Georgia law. However,
the statute permits the carrying of an unlicensed handgun on a public street
only if the firearm is enclosed in a case and unloaded. See O.C.G.A. § 16-
11-125(c). Here, Moses’s conduct of carrying a loaded handgun without a
case would violate Georgia law.




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added).3     Here, because Moses did not have a Georgia license, Section

6109(k) is inapplicable.

        Likewise, Moses’s citation to the exception set forth at Section

6106(b)(15)4 fails. That Section applies to a person “who possesses a valid

and lawfully issued license or permit to carry a firearm which has been

issued under the laws of another state,” which is not the situation presented

here. 18 Pa.C.S. § 6106(b)(15) (emphasis added).

        Finally, even if Moses had possessed a valid Georgia gun license, he

still would have needed a Pennsylvania gun license. This Court has held that

“a Pennsylvania resident who does not have a valid Pennsylvania license

issued under the Pennsylvania Uniform Firearms Act may not carry a firearm
____________________________________________


3
 https://www.attorneygeneral.gov/Media_and_Resources/Firearm_Reciprocit
y_Agreements/
4
    Section 6106(b)(15) provides an exception to Section 6106(a):

        Any person who possesses a valid and lawfully issued license or
        permit to carry a firearm which has been issued under the laws
        of another state, regardless of whether a reciprocity agreement
        exists between the Commonwealth and the state under section
        6109(k), provided:

           (i) The state provides a reciprocal privilege for individuals
           licensed to carry firearms under section 6109.

           (ii) The Attorney General has determined that the firearm
           laws of the state are similar to the firearm laws of this
           Commonwealth.

18 Pa.C.S. § 6106(b)(15).




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in a vehicle or concealed on or about his person in Pennsylvania under the

authority of a permit issued by another state that has reciprocity with

Pennsylvania.” Commonwealth v. McKown, 79 A.3d 678, 687 (Pa. Super.

2013).

     Here, Moses admitted he was a Pennsylvania resident and that he did

not have a Pennsylvania gun license.   He was carrying a concealed firearm

on the streets of Philadelphia.   As such, the evidence was sufficient to

convict Moses of violations of Sections 6106(a)(1) and 6108.

     Judgment of sentence affirmed.


Judgment Entered.




Joseph D. Seletyn, Esq.
Prothonotary



Date: 11/17/2016




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